[Cite as Shaw v. Shaw, 2024-Ohio-3231.]



                                  IN THE COURT OF APPEALS

                         TWELFTH APPELLATE DISTRICT OF OHIO

                                          BUTLER COUNTY




 KEVIN L. SHAW,                                 :

        Appellant,                              :     CASE NO. CA2023-08-091

                                                :             OPINION
     - vs -                                                    8/26/2024
                                                :

 CHARLES W. SHAW,                               :

        Appellee.                               :




        CIVIL APPEAL FROM BUTLER COUNTY COURT OF COMMON PLEAS
                       DOMESTIC RELATIONS DIVISION
                           Case No. DR98040692


The Lampe Law Office, LLC, and Stephen Otte, for appellant.

Eric D. Bender, for appellee.



        HENDRICKSON, J.

        {¶ 1} Kevin Shaw, appellant, appeals the decision of the Butler County Domestic

Relations Court setting aside a Qualified Domestic Relations Order that had been in place

for over 20 years. For the reasons that follow, we reverse the decision of the lower court.

                             I. Facts and Procedural Background

        {¶ 2} Charles Shaw, plaintiff-appellee, and Sharon Shaw were married on August
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25, 1973. They had two children together: a son, Kevin, and a daughter. Charles and

Sharon divorced in 1999.

        {¶ 3} They reached an agreement regarding the division of their property, which

the trial court adopted.1 Regarding Charles's federal civil service pension, the decree

provided the following:

                [Sharon] shall receive one half of [Charles]'s pension with the
                U.S. Postal Service. A separate qualified domestic relations
                order shall issue to effectuate this division, and the court
                reserves jurisdiction to correct any defect in wording.

To implement this provision, in October 2000, the parties executed and filed a Qualified

Domestic Relations Order ("QDRO").

        {¶ 4} The QDRO contained several provisions beyond a simple 50/50 split of the

pension, including that Sharon would receive equivalent cost of living adjustments

("COLAs") and that she would receive a surviving-spouse annuity (with the costs split

equally). Critically, a provision stated that if Sharon predeceased Charles, her share of

the benefits would pass to their surviving children:

                8. Benefit Commencement Date: The Former Spouse shall
                commence her benefits as soon as administratively feasible
                following the date this Order is approved as a Court Order
                Acceptable for Processing, or on the date the Employee
                commences his benefits, if later. Payments shall continue to
                Former Spouse for the remainder of Employee's lifetime.
                However, in the event that Former Spouse dies before
                Employee, the United States Office of Personnel
                Management is directed to pay Former Spouse's share of
                Employee's civil service retirement benefits to surviving
                children of the marriage, including any adopted children, in
                equal shares. Upon the death of any child, that child's share
                will be distributed among the other surviving children.

The QDRO was prepared by Sharon's attorney and voluntarily signed by Charles.




1. The divorce decree pertinently stated that "[t]he parties . . . have entered an agreement regarding the
property and alimony issues which the court finds just and equitable and hereby adopts."

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      {¶ 5} Sharon began to receive her portion of the pension in 2000, and for over 20

years, the parties operated under the QDRO without objection. Sharon received her

share of the pension benefits ($1,100.50 each month) until her death in April 2022. Upon

her death, Charles received a letter from the United States Office of Personnel

Management informing him that, in accordance with the terms of the QDRO, Sharon's

share of his pension benefits would now be paid to their children.

      {¶ 6} This was not what Charles remembered as their agreement. In October

2022, he filed a motion under Civ.R. 60(B) to vacate the QDRO, arguing that it improperly

modified the terms of the original divorce decree. Specifically, he contended that there

was a defect in the provision stating that "in the event that the Former Spouse dies before

Employee, the United States Office of Personnel Management is directed to pay Former

Spouse's share of Employee's Civil Service retirement benefits to surviving children of

the marriage." Kevin, the parties' son, opposed the motion.

      {¶ 7} A hearing was held before a magistrate in April 2023. Charles testified that

while he was represented by counsel when he signed the QDRO, he did not read it.

Charles said that they were at the courthouse to address a spousal-support issue when

his attorney came out of the conference room and told him to sign the QDRO. He also

claimed that he never received a copy of the QDRO. According to Charles, he and

Sharon never agreed that if she predeceased him, the pension benefits would go to their

children. He said that he certainly did not intend to add benefits for his children. Kevin

also testified. He said that he had been living with his mother before her death. Kevin

said that he had barely spoken with his father since his parents divorced, as their

relationship had been severely strained. He said that his mother had told him years ago

that if she died before his father, he would receive her share of his father's pension



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benefits.2 Kevin testified that he had left his job to care for his mother before her death,

and he was hoping to use those payments to buffer the financial sacrifice that he had

made to care for her.

        {¶ 8} The magistrate issued a decision recommending that Charles's motion be

granted. The magistrate found that the relief Charles sought was actually to correct a

clerical error under Civ.R. 60(A).             The magistrate concluded that by providing a

continuation of benefits to the parties' children if Sharon predeceased Charles, the QDRO

did not conform with the final property-division order but improperly altered it. Therefore,

the magistrate concluded, the QDRO was void. The magistrate ordered that a new QDRO

be prepared to conform to the terms for division of retirement and pension benefits in the

divorce decree. Kevin filed objections with the trial court. On July 19, 2023, the court

overruled his objections and adopted the decision of the magistrate.

        {¶ 9} Kevin appealed.

                                               II. Analysis

        {¶ 10} Kevin assigns two errors to the trial court:

        {¶ 11} Assignment of Error No. 1: "THE TRIAL COURT ABUSED ITS

DISCRETION WHEN IT GRANTED APPELLEE/DEFENDANT'S MOTION FOR RELIEF

FROM JUDGMENT PURSUANT TO CIVIL RULE 60(B)(4) and (B)(5)."

        {¶ 12} Assignment of Error No. 2: "THE TRIAL COURT ERRED AS A MATTER

OF LAW IN FINDING THAT THE QDRO DID NOT REFLECT THE TERMS OF THE

PARTIES' DECREE."

        {¶ 13} The central issue here is whether the QDRO's provision allowing Sharon's




2. How the parties' daughter fits here is not clear. Based on the terms of the QDRO, she and Kevin
presumably each receive half of Sharon's benefit. In any event, their daughter has not filed anything in this
case and does not appear to be involved in this dispute.

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share of Charles's pension benefits to pass to their children upon her death constitutes

an impermissible modification of the divorce decree or a permissible clarification of it.

Kevin contends that the QDRO is consistent with the decree's intent and ensures that

Sharon receives her full "one half" of the pension for the duration of Charles's lifetime.

Charles maintains that the QDRO added benefits for their children that were not

contemplated in the divorce decree.

                A. The QDRO permissibly clarified the divorce decree

       {¶ 14} Retirement benefits accrued during marriage are marital assets subject to

equitable division upon divorce. See McKinney v. McKinney, 142 Ohio App.3d 604, 608

(2d Dist. 2001), citing R.C. 3105.171. However, courts' ability to modify a division is

constrained by R.C. 3105.171(I), which bars future modification of property division

unless both spouses agree. See Veidt v. Cook, 2004-Ohio-3170, ¶ 10 (12th Dist.).

       {¶ 15} A QDRO is an instrument born of the practical necessity to implement the

division of pension benefits. See Wilson v. Wilson, 2007-Ohio-6056, ¶ 7 (stating that a

QDRO "implements the court's decision of how a pension is to be divided incident to

divorce or dissolution"). It serves as a bridge between the broad strokes of a divorce

decree and the intricate mechanics of pension-plan administration. See McKinney at 608

("A QDRO is a current distribution of the rights in a retirement account which is payable

in the future, when the payee retires. It is ordinarily issued subsequent to and separate

from the decree of divorce itself, after the employer payor has approved its terms as

conforming with the particular pension plan involved"). As we have explained, "A QDRO

is not an independent judgment entry of the court but is rather 'an enforcement

mechanism pertaining to a trial court's previous judgment entry of divorce or dissolution.'"

Tekamp v. Tekamp, 2019-Ohio-2382, ¶ 21 (12th Dist.), quoting Ballinger v. Ballinger,

2017-Ohio-7077, ¶ 6 (8th Dist.). It may not "vary from, enlarge, or diminish the relief that

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the court granted in the divorce decree." Wilson at ¶ 18. A QDRO must remain faithful

to the divorce decree's substance. See Jewett v. Jewett, 2014-Ohio-2343, ¶ 10 (12th

Dist.). However, it may clarify and implement the terms of a decree without running afoul

of the statutory prohibition against modification in R.C. 3105.171(I).

       {¶ 16} "The question of whether a QDRO conflicts with a divorce decree presents

a question of law that this court reviews de novo." Tekamp at ¶ 21, citing Enty v. Enty,

2017-Ohio-4177, ¶ 16 (8th Dist.). In scrutinizing whether a QDRO impermissibly modifies

a decree, a court does not engage in a mere exercise of textual comparison. Rather, the

court must discern whether the QDRO's provisions materially alter the rights and

obligations established by the decree.

       {¶ 17} The dispute here is not fundamentally over the QDRO but over the meaning

of the divorce decree on which it was issued. The decree provision dividing Charles's

pension benefits was a product of the parties' agreement, which the court had adopted,

so the court could properly clarify any ambiguity in the provision without violating the

prohibitions of R.C. 3105.171(I). See McKinney, 142 Ohio App.3d at 608-609. "An

ambiguity exists when a provision in an order or decree is reasonably susceptible to more

than one meaning." Id. at 609. The provision here states in full:

              [Sharon] shall receive one half of [Charles]'s pension with the
              U.S. Postal Service. A separate qualified domestic relations
              order shall issue to effectuate this division, and the court
              reserves jurisdiction to correct any defects in wording.

This language is broad and does not specify the precise contours of how the division was

to be implemented. The QDRO, voluntarily agreed to by both parties, provided the

necessary details to effectuate the pension-benefits division.

       {¶ 18} We note that the magistrate here did not find the decree provision

ambiguous and proceed to interpret or clarify it. Rather, the magistrate appeared simply


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to make a legal conclusion that the QDRO modified the decree's division of pension

benefits. We think that the magistrate erred in its conclusion. There is no conflict between

the divorce decree and the QDRO.

       {¶ 19} The divorce decree's succinct allocation of "one half of [Charles]'s pension"

to Sharon leaves ample room for clarification without straying into impermissible

modification.   The QDRO's provision for the continuation of Sharon's share to their

children, should she predecease Charles, neither expands her entitlement nor diminishes

Charles's share. It merely elucidates the temporal scope of Sharon's "one half," ensuring

that she receives the full measure of her award for the duration of the asset's existence.

This interpretation aligns squarely with the divorce decree's language and the principles

of equitable division that underpin marital-property law.

       {¶ 20} The pension provision in the divorce decree is ambiguous on all the matters

addressed in the QDRO. On the question of what happens if Sharon predeceases

Charles, the decree can reasonably be interpreted to mean that pension payments cease

or that they continue. The provision must be interpreted and clarified, which is what the

QDRO does. By providing a continuation of benefits to the parties' children, the QDRO

does not give Sharon any additional benefits.

       {¶ 21} We emphasize that the provision allowing Sharon's share to pass to the

children upon her death does not expand her rights or diminish Charles's share. It simply

clarifies how Sharon's "one half" interest is to be handled in the event she predeceases

Charles. This provision ensures that Sharon (or her estate) receives the full value of her

share for the duration of Charles's lifetime, which is consistent with the decree's award of

"one half of the pension."

       {¶ 22} In reaching this conclusion, we distinguish this case from the cases relied

on by Charles. In those cases, QDROs were found to overstep their bounds because

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they improperly either awarded benefits that clearly were not contemplated by the

decrees or altered fundamental calculations in the decrees.           See, e.g., Ostanek v.

Ostanek, 2021-Ohio-2319 (improperly awarded the additional benefit of a survivorship

annuity); Merz-Oliver v. Oliver, 2003-Ohio-712 (12th Dist.) (improperly awarded gains and

losses on divided 401[k] stocks); Reynolds v. Turull, 2019-Ohio-2863 (12th Dist.)

(improperly changed the coverture fraction and added post-retirement enhancements and

survivor benefits); Adkins v. Bush, 2003-Ohio-2781 (12th Dist.) (improperly awarded

additional benefits not included in the decree). Instead, we find the present case more

akin to those in which courts have approved QDROs because they provided necessary

clarification of the decrees without improperly modifying them. See, e.g., Jewett, 2014-

Ohio-2343 (permissibly interpreted the term "accrued benefits" to include both basic and

supplemental pension-plan benefits).

       {¶ 23} In sum, the QDRO here does not run afoul of R.C. 3105.171(I)'s prohibition

on modifying divisions of property.        The provision at issue simply implements a

reasonable interpretation of what it means for Sharon to receive "one half of the pension."

It stands as a permissible and indeed necessary clarification of the divorce decree's

pension division, faithful to both the letter and spirit of the divorce decree.

                                  B. Latches and equity

       {¶ 24} Even if we were to find the QDRO's provision stands in conflict with the

decree, principles of equity and laches would compel us to deny relief after such a

protracted period.

       {¶ 25} The doctrine of laches serves as a bulwark against stale claims. It bars a

party from asserting a right when two conditions are met: first, an unreasonable delay in

pressing the claim, and second, resultant prejudice to the opposing party. Connin v.

Bailey, 15 Ohio St.3d 34, 35 (1984). Both elements are abundantly present in the case

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before us.

       {¶ 26} Charles voluntarily signed the QDRO in 2000. He had ample opportunity to

scrutinize its terms and voice any objections to perceived inconsistencies with the decree.

Instead, he allowed the document to stand unchallenged for over two decades, during

which time Sharon ordered her affairs in reliance upon its provisions. To set aside the

QDRO at this late hour would visit substantial prejudice on Sharon, who had reasonably

structured her expectations around her son's receipt of these benefits following her death.

Moreover, Sharon cannot testify about what her agreement with Charles was concerning

the pension benefits upon her death.

       {¶ 27} Charles's protestations of ignorance regarding the specific provision about

the children ring hollow. He should have thoroughly reviewed the QDRO far earlier.

There is no evidence that would justify Charles not reading the QDRO before signing it.

Moreover, Charles was represented by an attorney, whom he could have asked about

the provision. His failure to undertake such a review for over 20 years epitomizes the

kind of unreasonable delay that the doctrine of laches was designed to discourage.

       {¶ 28} In the realm of domestic relations, perhaps more than any other area of law,

there is a premium on finality and stability. To allow a challenge to a two-decade-old

agreement at this juncture would not only offend principles of equity but would also sow

uncertainty into countless settled divorces.

                            C. Public policy considerations

       {¶ 29} We cannot ignore public policy implications that our decision in this case

may engender. The use of QDROs as instruments to clarify and implement divorce

decrees is a common and essential practice in our judicial system. To permit challenges

to these documents decades after their voluntary execution would be to invite chaos into

an area of law where stability and finality are not merely desirable, but imperative.

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       {¶ 30} The ripple effects of a decision favoring Charles could be profound. It would

potentially unsettle numerous cases with similarly concise divorce-decree language,

opening a Pandora's box of litigation in what are thought to be long-resolved matters. The

courts could find themselves inundated with opportunistic claims, undermining the very

foundations of certainty and finality upon which our system of divorce settlements rests.

       {¶ 31} Charles, in his argument, invokes the current state of Ohio law, which he

contends favors QDROs that hew closely to the parties' agreements or the court's prior

judgments. He posits that this policy should be maintained rather than upended. While

we acknowledge the importance of fidelity to original agreements, we must also recognize

the practical realities of divorce settlements and the role that QDROs play in their

implementation.

       {¶ 32} Charles further suggests that accepting Kevin's position might incentivize

parties to submit non-compliant QDROs in hopes of "getting away with it." This argument,

while not without merit, fails to fully appreciate the safeguards already in place within our

legal system.     Courts are well equipped to scrutinize QDROs at the time of their

submission, and the doctrine of laches exists precisely to discourage the kind of delayed

challenge that Charles himself now attempts.

                                      III. Conclusion

       {¶ 33} The assignments of error are sustained. We conclude that the QDRO in

this case did not impermissibly modify the divorce decree but instead provided necessary

clarification. Furthermore, even if it had modified the decree, principles of equity and

laches would bar Charles from challenging it over 20 years later. The trial court's decision

is therefore reversed.


       S. POWELL, P.J., and PIPER, J., concur.


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